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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


 KT IMAGING USA, LLC,

                                         Plaintiff,           Case No.: 6:21-cv-01004-ADA

                        v.

 DELL TECHNOLOGIES INC. and DELL
 INC.,
                                                                  Jury Trial Demanded
                                      Defendants.


                                 JOINT MOTION TO DISMISS

       WHEREAS, Plaintiff KT Imaging USA, LLC’s (“Plaintiff”) claims for relief against

Defendants Dell Technologies Inc. and Dell Inc. (collectively, “Dell”) have been resolved.

               NOW, THEREFORE, Plaintiff and Dell, through their attorneys of record, request

this Court to dismiss Plaintiff’s claims for relief against Dell with prejudice and Dell’s claims,

defenses or counterclaims for relief against Plaintiff without prejudice, and with all attorneys,

fees, costs of court and expenses borne by the party incurring same.



Dated: April 25, 2022


       Respectfully submitted,                            Respectfully submitted,

  By: /s/ Dmitry Kheyfits                             By: /s/ Erik C. Olson
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